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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC,                        §
                                                   §
                                                   §
                Plaintiff,                         §
                                                   §
v.                                                 §   CIVIL ACTION NO. 2:23-CV-00419-JRG
                                                   §
VALVE  CORPORATION,                 GEARBOX        §
SOFTWARE, L.L.C.,                                  §
                                                   §
                Defendants.                        §


                                             ORDER
       Before the Court are the Motions to Dismiss Under Federal Rule of Civil Procedure

12(b)(3) for Improper Venue (Dkt. Nos. 11, 37) filed by Valve Corporation and the Motions to

Dismiss Under Rule 12(b)(6) for Failure to State a Claim (Dkt. Nos. 31, 36) filed by Gearbox

Software, L.L.C. (collectively, the “Motions to Dismiss”). In the Motions to Dismiss, Defendants

Valve Corporation and Gearbox Software, L.L.C. seek the dismissal of Plaintiff Symbology

Innovations, LLC’s (“Plaintiff”) Complaint (Dkt. No. 1) and First Amended Complaint

(Dkt. No. 35) under Federal Rules of Civil Procedure 12(b)(3) and 12(b)(6). Since the filing of the

Motions to Dismiss, Plaintiff has filed a Second Amended Complaint. (Dkt. No. 40).

       It is well established that a later-filed amended complaint moots a motion asking the Court

to dismiss an earlier-filed complaint. See Griffin v. Am. Zurich Ins. Co., 697 F. App’x 793, 797 (5th

Cir. 2017) (“Once filed, that amended complaint rendered all earlier motions … moot.”); see also

Bishop Display Tech LLC v. Samsung Elecs. Co., Ltd., No. 2:21-cv-00139-JRG, Dkt. No. 40 (E.D.

Tex. Oct. 4, 2021) (“Once Plaintiff filed its amended complaint, the Motion became moot.”);

Ultravision Technologies, LLC v. Eaton Corp. PLC, No. 2:19-CV-00290-JRG, 2019 WL
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11250161, at *1 (E.D. Tex. Nov. 7, 2019) (“Accordingly, the filing of an amended complaint moots

a motion to dismiss the original complaint.”).

       Accordingly, the Court finds that the Motions to Dismiss (Dkt. Nos. 11, 31, 36, 37) should

be and hereby are DENIED-AS-MOOT.


      So Ordered this
      Mar 2, 2024




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